                                                                      Case 1:25-cv-10685-WGY                         Document 190-5 Filed 07/08/25
                                                                                    Defendants' Privilege Log for Subset of In Camera Documents Identified by the Court on July 8, 2025
                                                                                                                                                                                                                                                       Page 1 of 1


Beg. Bates Number En. Bates Number   Custodian      Document Title    Document Date            From                                 To                                     Email CC                         Email/Memo Subject            Privilege Designation         Privilege Description                      Filing Status



                                                                                                                                                                                                                                                                                                                   Filed with June 11, 2025 In Camera
                                                                                                                                                                                                                                                                                                                   Submission as law enforcement
                                                                                                                                                                                                                                                                                                                   sensitive, with protective order not yet
                                                                                                                                                                                                                                                                                                                   entered, and regarded as outside the
                                                                                                                                                                                                                                                                                                                   scope of this case as an unresolved
                                                                                                                                                                                                                                                                                                                   issue in the subject’s case (a point
                                                                                                                                                                                                                                                                                                                   since clarified), and has not been
                                                                                                                                                                                                                                                                                                                   disclosed publicly, but Defendants
                                                                                                                                                                                                                                                                                                                   would be willing to share it subject to
           00001             00002                                    03/07/2025               Watson, Andre                        Whiting, Andrea Toll                                                                                  none                          none                                       an Attorneys Eyes Only restriction.

                                                                                                                                                                                                                                                                      LEP, PII - Contains names and contact
                                                                                                                                                                                                                                                                      information of non-public facing
                                                                                                                                         LE/PII                                                                                                                       Homeland Security Investigations law
                                                                                                                                                                 Walker,                                                                                              enforcement personnel which, if
                                                                                                 LE/PII                             William S                                                               Re: Draft                     Law Enforcement, Personally disclosed, could compromise the safety       Filed with July 2, 2025 In Camera
           00003             00003 William Walker                     03/09/2025 05:56:44 PM                     @hsi.dhs.gov]      [William.S.Walker@hsi.dhs.gov]                                          Statement/Response            Identifiable Information    of such individuals                          Submission

                                                                                                                                                                                                                                                                      LEP, PII - Contains names and contact
                                                                                                                                                                                                                                                                      information of non-public facing
                                                                                                                                         LE/PII                                                                                                                       Homeland Security Investigations law
                                                                                                                                                                 Walker,                                                                                              enforcement personnel which, if
                                                                                                  LE/PII                            William S                                                               RE: Draft                     Law Enforcement, Personally disclosed, could compromise the safety       Filed with July 2, 2025 In Camera
           00004             00004 William Walker                     03/09/2025 06:48:29 PM                                        [William.S.Walker@hsi.dhs.gov]                                          Statement/Response            Identifiable Information    of such individuals                          Submission




                                                                                                                                                                                                                                                                      LEP, PII - Contains names and contact
                                                                                                                                                                                                                                                                      information of non-public facing
                                                                                                                                                                                                                                                                      Homeland Security Investigations law
                                                                                                                                                                                                                                                                      enforcement personnel which, if
                                                                                                                                                                                                                                                                      disclosed, could compromise the safety
                                                                                                                                                                                                                                                                      of such individuals; ACP/AW: consists of
                                                                                                                                                                                                                                                                      correspondence between attorneys for
                                                                                                                                                                                                                                                                      ICE's Office of the Principal Legal Advisor
                                                                                                                                                                                                                                                                      (OPLA) and employees of ICE Homeland
                                                                                                                                                                                                                                                                      Security Investigations (HSI) and
                                                                                                                                                                                                                                                                      Enforcement and Removal Operations
                                                                                                                                                                                                                                                                      (ERO) about questions surrounding the
                                                                                                                                                                                                                                                                      applicability of a particular removabilty
                                                                                                                                                                                                                                                                      charge under the Immigration and
                                                                                                                                                                                                                                                                      Nationality Act; updates from ERO to
                                                                                                                                                                                                                                                                      OPLA attorneys regarding issues with
                                                                                                                                                                               LE/PII                                                                                 arresting a person of interest; ERO
                                                                                                                                                                                           @ice.dhs.gov];                                                             employee discussing the use of law
                                                                                                                                                                               LE/PII                                                                                 enforcement systems and databases to
                                                                                                                                                                                           @ice.dhs.gov];                                                             conduct investigations with OPLA
                                                                                                                                                                              LE/PII                                                      Law Enforcement, Personally attorneys; and conversations between
                                                                                                                                              LE/PII                                    @ice.dhs.gov];                                    Identifiable Information,   OPLA attorneys discussing HSI
                                                                                                   LE/PII                                                      @ice.dhs.      LE/PII                                                      Attorney-Client Privilege,  investigation results and issues            Filed with July 2, 2025 In Camera
           00005             00010      LE/PII                        03/23/2025 07:35:37 PM                        @ice.dhs.gov]   gov]                                                @ice.dhs.gov]       FW: Signed memo               Attorney Work Product       surrounding that person of interest.        Submission

                                                                                                                                                                                                                                                                        DP: contains candid, internal               Filed with June 11, 2025 In Camera
                                                                                                                                                                                                                                                                        deliberations assessing pre-decisional      Submission, withheld from Plaintiffs in
                                                                                                                                                                                                            Removal of [specific                                        recommendations on enforcement              full; Privilege declaration filed in
                                                                                                                                                                                                            individual LPRs], under                                     actions regarding a specific non-citizen    support of opposition to Plaintiffs'
                                                                                                                                                                                                            Section 237(a)(4)(C) of the   Deliberative Process,         (see Armstrong Declaration at Dkt. # 170- motion to compel and upheld on June
                                                    Action Memo for                                                                                                                                         Immigration and Nationality   Personally Identifiable       8); PII: DOB of non-party individuals on p. 30, 2025 when the Court denied the
           00011             00015                  the Secretary     3/8/2025                 Armstrong, John                      U.S. Secretary of State                                                 Act                           Information                   00011                                       motion to compel (Dkt. # 174)

                                                                                                                                                                                                                                                                        DP: contains candid, internal              Filed with June 11, 2025 In Camera
                                                                                                                                                                                                                                                                        deliberations assessing pre-decisional     Submission, withheld from Plaintiffs in
                                                                                                                                                                                                                                                                        recommendations on enforcement             full; Privilege declaration filed in
                                                    Action Memo for                                                                                                                                                                                                     actions regarding a specific non-citizen   support of opposition to Plaintiffs'
                                                    Senior Bureau                                                                                                                                                                         Deliberative Process,         (see Armstrong Declaration at Dkt. # 170- motion to compel and upheld on June
                                                    Official John                                                                                                                                           (SBU) Revocation of F1 Visa   Personally Identifiable       8); PII: DOB of non-party individual on p. 30, 2025 when the Court denied the
           00016             00019                  Armstrong         3/21/2025                Wilson, Stuart                       Armstrong, John                                                         for Rumeysa OZTURK            Information                   00016                                      motion to compel (Dkt. # 174)
